                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION

UNITED STATES OF AMERICA            )                    DOCKET NO. 5:06CR35-9-V
                                    )
            vs.                     )                                    ORDER
                                    )
CRYSTAL CREWS (9),                  )
            Defendant.              )
____________________________________)


        THIS MATTER is before the Court on the Government’s “Notice of Appeal and Motion

for Revocation and Stay of Magistrate Judge’s Release Order,” filed August 7, 2006. On that same

date, the defendant was brought before Magistrate Judge Carl Horn for a bond review hearing. At

the conclusion of that hearing, the Magistrate Judge ordered the defendant released.

        Pursuant to 18 U.S.C. § 3145(a)(1), this Court will stay the Magistrate Judge’s release order

pending a ruling by this Court on the Government’s motion to revoke the release order.

        IT IS, THEREFORE, ORDERED that the Government’s motion to stay is hereby

GRANTED, and the defendant shall be DETAINED until further order of this Court. The Court

will notify the parties at a later date if a hearing in this matter is necessary.

        The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, Defense Counsel and the United States Attorney's Office.

                                                    Signed: August 7, 2006




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